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          11                                UNITED STATES DISTRICT COURT

          12                                EASTERN DISTRICT OF CALIFORNIA

          13                                    SACRAMENTO DIVISION

          14     IN RE EDWARD D. JONES & CO., L.P.         CASE NO. 2:18-cv-00714-JAM-AC
                 SECURITIES LITIGATION
          15                                               NOTICE OF MOTION AND MOTION OF
                                                           DEFENDANTS TO DISMISS PLAINTIFFS’
          16                                               AMENDED COMPLAINT;
                                                           MEMORANDUM OF POINTS AND
          17                                               AUTHORITIES IN SUPPORT THEREOF

          18                                               [Declaration of Alexander Mircheff and Exhibits
                                                           thereto, Request for Judicial Notice and
          19                                               Incorporation by Reference, Declaration of
                                                           Shelley Graf filed concurrently herewith]
          20
                                                           Hearing:
          21                                               Date:       May 21, 2019
                                                           Time:       1:30 p.m.
          22                                               Place:      Courtroom 6, 14th Floor
                                                                       501 I Street
          23                                                           Sacramento, CA 95814

          24                                               Judge:      Hon. John A. Mendez

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Gibson, Dunn &
Crutcher LLP
                                                                 MOTION TO DISMISS AMENDED COMPLAINT
            1                                  NOTICE OF MOTION AND MOTION

            2    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

            3           PLEASE TAKE NOTICE that on May 21, 2019 at 1:30 p.m., or as soon thereafter as the

            4    matter may be heard, in the United States District Court for the Eastern District of California,

            5    Sacramento Courthouse, Courtroom 840, located at 501 I Street, Sacramento, California 95814,

            6    Defendants Edward D. Jones & Co., L.P., The Jones Financial Companies, L.L.L.P., EDJ Holding

            7    Company, Inc., James D. Weddle, Penelope (“Penny”) Pennington, Daniel J. Timm, Kenneth R.

            8    Cella, Jr., Brett A. Campbell, Kevin D. Bastien, Norman L. Eaker, Vincent J. Ferrari, Timothy J.

            9    Kirley, James A. Tricarico, Jr., Richard D. Link, Pamela K. Cavness, Olive Street Investment

          10     Advisors, LLC, Passport Holdings, LLC, and Passport Research, Ltd. (collectively, “Defendants”)

          11     through their undersigned counsel, will, and hereby do, move to dismiss all claims asserted against

          12     Defendants in the Amended Complaint for Violation of Federal Securities Laws and Breach of

          13     Fiduciary Duty pursuant to the Private Securities Litigation Reform Act of 1995 (“PSLRA”) and

          14     Rules 9(b), 12(b)(1), and 12(b)(6) of the Federal Rules of Civil Procedure for failure to meet the

          15     pleading requirements of the PSLRA and Fed. R. Civ. P. 9(b), lack of subject-matter jurisdiction, and

          16     failure to state a claim (the “Motion”). This Motion is based on this Notice of Motion and Motion,

          17     the Memorandum of Points and Authorities, Defendants’ Request for Judicial Notice and

          18     Incorporation by Reference, the accompanying Declaration of Alexander Mircheff and exhibits

          19     submitted therewith, the Declaration of Shelley Graf and the exhibit thereto, the Court’s files in this

          20     action, the arguments of counsel, and any other matter that the Court may properly consider. The

          21     grounds for the Motion include the following:

          22            Counts I and II, alleging various violations of the Securities Exchange Act of 1934, should be

          23     dismissed with prejudice for failure to state a claim under the heightened pleading standards required

          24     by the PSLRA and Fed. R. Civ. P. 9(b). Plaintiffs fail to properly plead any “untrue” or “misleading”

          25     statement or omission of material fact, or that any Defendant other than Edward D. Jones & Co., L.P.

          26     “made” any of the statements at issue. Similarly, Plaintiffs have not properly pleaded scienter,

          27     reliance, or causation of any losses. Moreover, Plaintiffs’ claims for “scheme” liability under Rule

          28     10b-5(a) and (c) fail because they do not plead with particularity that any Defendant committed an

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                                                                             MOTION TO DISMISS AMENDED COMPLAINT
            1    act constituting manipulative or deceptive conduct, and the failure to properly plead scienter,

            2    reliance, or causation of any losses is fatal to the “scheme” liability claims as well.

            3           Additionally, Count IV, alleging a violation of Section 12(a)(2) of the Securities Act of 1933,

            4    should be dismissed with prejudice for failure to state a claim because Plaintiffs fail to allege that

            5    they purchased securities in a public offering pursuant to a “prospectus” that contains a misstatement.

            6    Moreover, the claims sound in fraud, and they fail to meet the heightened pleading standards required

            7    by Fed. R. Civ. P. 9(b). The defense of negative causation also appears on the face of the pleadings.

            8           Counts III and V are “control person” claims that should be dismissed with prejudice for

            9    failure to state a claim because Plaintiffs fail adequately to plead an underlying violation of the

          10     federal securities laws.

          11            Counts VI and VII, alleging class-wide claims for breach of fiduciary duty under state law,

          12     should be dismissed because they are based upon alleged misstatements, omissions, or deceptive

          13     conduct in connection with the sale of covered securities, and the Securities Litigation Uniform

          14     Standard Act of 1998 precludes such claims. Moreover, the claims sound in fraud, and they similarly

          15     fail to meet the heightened pleading standards required by Fed. R. Civ. P. 9(b), as discussed above for

          16     Counts I through V.

          17            This Motion is made following the conference of counsel pursuant to the Court’s standing

          18     order, which was held on November 13, 2018. The conference did not resolve the issues underlying

          19     Defendants’ Motion to Dismiss.

          20

          21     Dated: November 21, 2018                       By:             /s/ Meryl L. Young
          22                                                    MERYL L. YOUNG
                                                                GIBSON, DUNN & CRUTCHER LLP
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            1                                          I.     INTRODUCTION

            2           Edward Jones (“EDJ”) offers multiple investment account options so that investors can

            3    choose the type of account that works best for them, and it provides extensive disclosures to help

            4    clients make their choices good ones. Plaintiffs attempt to assert claims based on these highly

            5    individualized choices in the guise of a securities class action. But they ignore the extensive

            6    disclosures they received about the different account options and the services and charges associated

            7    with each. Their complaint does not come close to meeting the rigorous standards under the Private

            8    Securities Litigation Reform Act of 1995 (“PSLRA”) or Federal Rule of Civil Procedure 9(b).

            9           Consistent with EDJ’s longstanding focus on helping serious long-term investors achieve their

          10     individual financial goals, and in response to client feedback, investor demand, and industry

          11     developments, EDJ expanded its account options over the past decade to include fee-based accounts

          12     with sophisticated advisory services backed by Firm research and technology, called “Advisory

          13     Solutions” and “Guided Solutions” (collectively, “Advisory Programs”), in addition to traditional

          14     brokerage accounts (in which clients pay commissions on each transaction).

          15            After receiving EDJ’s extensive disclosures, the five Plaintiffs here chose to open Advisory

          16     Program accounts. They now claim to have been dissatisfied with their individual choices, presume

          17     that all other clients who chose to invest through Advisory Programs feel the same way, and attempt

          18     to use an unfounded “reverse churning” label to attack EDJ’s business model.

          19            Plaintiffs’ attack does not fit within any cognizable legal theory and relies upon unsupported

          20     conclusions. Most fundamentally, Plaintiffs fail to plead particularized factual allegations to show

          21     anything untrue or misleading about anything EDJ said (or did). Plaintiffs further fail to plead actual

          22     or reasonable reliance, nor can they do so—they confirmed in writing when they opened their

          23     accounts that they were not relying on representations by EDJ, and have suggested in their pleadings

          24     that at least some of them did not read the disclosures EDJ provided.

          25            EDJ’s clear and robust written disclosures, and Plaintiffs’ own representations, foreclose

          26     Plaintiffs’ claims. For example, EDJ disclosed that (1) choosing the additional services in Advisory

          27     Programs could be “more expensive over time” than commissions; (2) the client’s “financial advisor

          28     will typically earn more over time” under Advisory Programs; and (3) investors need to decide for

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            1    themselves which account option they prefer, with clients acknowledging that they are “not relying

            2    on the advice or recommendation of Edward Jones . . . as a primary basis for such decisions.” See

            3    infra Part II & n.3. The disclosures also demonstrate the extensive steps EDJ takes to ensure its

            4    clients are well-informed, and that any recommendations are appropriate for the particular investor.

            5           Plaintiffs do not dispute that they received significant additional services in Advisory

            6    Programs, or that those options are attractive for many investors for a variety of reasons. For

            7    example, some clients prefer a fiduciary relationship, they value the portfolio construction,

            8    monitoring, rebalancing, or other services associated with Advisory Programs, and/or they like the

            9    predictability of asset-based charges. Instead, Plaintiffs’ premise is that—as EDJ explicitly disclosed

          10     was possible—they allegedly paid more in fees over time under Advisory Programs than they had

          11     previously paid in commissions while in brokerage accounts, in which they had traded infrequently.

          12     Am. Compl. (“¶”) ¶¶ 1, 4. Plaintiffs presume that higher payments, in and of themselves, suggest

          13     that Advisory Program accounts were unsuitable, and that the fees earned are somehow evidence of

          14     fraud. But Plaintiffs leap past the enhanced services and advice they received, and ignore the

          15     representations each of them made when choosing to open their Advisory Program accounts, that

          16     they “believe the investment advisory and other services provided under this Agreement will add

          17     value to their overall investment experience that more than justifies the additional expenses.” See

          18     infra Part II & n.3. Plaintiffs’ representations belie their allegation that EDJ Advisory Programs

          19     involve “reverse churning.” ¶ 70 (describing reverse churning as a practice of “placing a client’s

          20     funds into a fee-based account for no reason other than to collect the fee” where “the client often

          21     receives very little actual advice, trading, or account activity in exchange [for the fee]”).

          22            Plaintiffs also fundamentally mischaracterize several aspects of EDJ’s business. For example,

          23     they allege that EDJ sought to profit from making its proprietary “Bridge Builder” mutual funds

          24     available to Advisory Solutions clients. ¶ 112. But they ignore that, as EDJ discloses, neither EDJ

          25     nor any of its affiliates keeps any management fees for Bridge Builder; those fees go to pay

          26     unaffiliated third-party sub-advisers. See infra Part III.A.1.a.3. Bridge Builder is not a profit stream

          27     for EDJ; it was designed to “lower client investment management expenses” and helps increase

          28     access to high-quality mutual funds and efficiently manage sub-advisers, with the savings returned to

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                                                                      2       MOTION TO DISMISS AMENDED COMPLAINT
            1    clients. Ex. 5 at 5-6; Ex. 40.

            2            Similarly, Plaintiffs suggest there is somehow evidence of wrongdoing in the extensive steps

            3    taken by EDJ to ensure compliance with the law—including the sea-change prompted by the U.S.

            4    Department of Labor’s now-vacated Fiduciary Rule (the “DOL Rule” or the “Rule”). See generally

            5    Chamber of Commerce v. U.S. Dep’t of Labor, 885 F.3d 360 (5th Cir. 2018). Plaintiffs dramatically

            6    oversimplify the DOL Rule, ignoring the significant burdens (and consequences for non-compliance)

            7    it imposed when advice for retirement accounts could lead to variable compensation. Indeed, some

            8    firms stopped offering brokerage accounts altogether when confronted with the Rule’s onerous

            9    requirements. 1 But even while the Rule was in effect, EDJ allowed clients to “grandfather” pre-

          10     existing brokerage IRAs as the Rule permitted, and it removed the restrictions prompted by the Rule

          11     as soon as it was vacated. Plaintiffs plead no factual basis for the claim that EDJ somehow used the

          12     Rule as a pretext for policy changes, or otherwise “compelled” investors into Advisory Programs.

          13             Indeed, Plaintiffs’ limited attempt to plead a basis for their claims only highlights the lack of

          14     support. The purported “August 26, 2015 presentation made to Edward Jones management by one of

          15     the Company’s Branch Office Administrators,” ¶¶ 50-55, is in fact an MBA student project by a

          16     financial advisor’s administrative assistant, given only to the professor, about hypothetical “new”

          17     products; it was not based on any information from EDJ, and was not presented to, and certainly does

          18     not reflect the views of, “management.” See Declaration of Shelley Graf ¶ 2.

          19             For these reasons and others set forth below, Plaintiffs’ claims under the Securities Exchange

          20     Act of 1934 all fail to satisfy the rigorous standards that Congress mandated under the PSLRA.

          21     Plaintiffs fail to provide particularized factual allegations to satisfy the required elements. Similarly,

          22     for the claims under the Securities Act of 1933, Plaintiffs do not plead the requisite misstatement in a

          23     prospectus or oral statement relating thereto; they take no issue with any prospectus at all. And the

          24     claims for supposed breach of fiduciary duty are precisely the kind of end-runs around federal law

          25     that Congress precluded under the Securities Litigation Uniform Standards Act of 1998 (“SLUSA”).

          26     The complaint should be dismissed in its entirety.

          27
                  1
                      E.g., Ex. 42 [Michael Wursthorn, Merrill Lynch to End Commission-Based Options for
          28          Retirement Savers, Wall St. J., Oct. 6, 2016]; Chamber, 885 F.3d at 368 (Rule “spawned . . . the
                      withdrawal of several major companies, including Metlife, AIG and Merrill Lynch”).
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                                                                      3       MOTION TO DISMISS AMENDED COMPLAINT
            1                                     II.     FACTUAL BACKGROUND

            2            Edward D. Jones & Co., L.P. is a privately owned financial services firm headquartered in St.

            3    Louis, Missouri. Ex. 5 at 3, 25. 2 Its more than 15,000 financial advisors do business face-to-face

            4    with individual clients, largely in single-advisor branch offices. Id. at 4, 29.

            5            Plaintiffs acknowledge they were provided with a brochure entitled “Making Good Choices,”

            6    which EDJ provides to investors considering an account, to help them choose the type of account

            7    they want based on their personal financial objectives, preferences for the type and level of service,

            8    and how they want to pay. ¶¶ 108, 109, 124, 152; Exs. 30-33. The options include brokerage

            9    accounts, where the client pays a commission for each trade; Advisory Solutions, where the client

          10     delegates some investment decisions to a team of EDJ research analysts; and Guided Solutions,

          11     where the client makes the final decision for trades aligned with EDJ guidance, subject to EDJ

          12     “guardrails” to help the client stay on track. Exs. 30-33. In both Advisory and Guided Solutions

          13     accounts, EDJ acts as a fiduciary, and clients pay an annual fee based on the value of their accounts.

          14     Id. The Making Good Choices brochure compares, for example: the level of decision-making clients

          15     have in each account; how the financial advisor provides guidance; which investment choices are

          16     available; how the account is monitored; the level of account rebalancing; and costs. Id. The Making

          17     Good Choices brochure explicitly discloses that “[p]aying an ongoing fee can make expenses more

          18     predictable but can be more expensive over time” and refers investors to the applicable program

          19     brochures and fee schedules for additional details. Id.; see ¶¶ 90, 107, 199. Extensive disclosures are

          20     also found in other documents incorporated into the complaint, including EDJ’s Client Services

          21     Agreements (¶¶ 8, 105-108, 154, 254); program brochures (¶¶ 90, 107, 180, 199, 234); Client Profiles

          22     (¶ 107); and mutual fund prospectuses (incorporated into brochures and Client Services Agreements).

          23             These documents contain details about the various account options, the significant additional

          24     services provided in the Advisory Programs, and associated fees. Among other things, the

          25

          26      2
                      This summary is drawn from the complaint, materials incorporated in it, and judicially noticeable
                      materials. In re NVIDIA Corp. Sec. Litig., 768 F.3d 1046, 1053 (9th Cir. 2014); see also Khoja v.
          27          Orexigen Therap., Inc., 899 F.3d 988, 998 (9th Cir. 2018); Request for Judicial Notice and
                      Incorporation by Reference. “Ex.” refers to Exhibits to the Declaration of Alexander Mircheff.
          28          Defendants include the Jones Financial Companies, L.L.L.P., various subsidiaries, and certain of
                      its current and former general partners. See ¶¶ 13-32.
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                                                                      4       MOTION TO DISMISS AMENDED COMPLAINT
            1    disclosures explain that the program fees include qualitative and quantitative analysis to identify

            2    eligible investments; consultation with a financial advisor regarding the selection of an appropriate

            3    portfolio objective; execution of transactions; reporting; ongoing monitoring; reviews with a financial

            4    advisor of circumstances that might warrant changes to an account; and rebalancing services. Exs. 7-

            5    8 at 3-13, 19, 21; Ex. 9 at 3-13, 20-24; Ex. 10 at 3-13, 19-22; Ex. 11 at 3-14, 20-21; Ex. 12 at 3-14,

            6    21-22; Exs. 14-17 at 7-10, 15-21, 23-24; Exs. 18-19 at 1-3, 5; Exs. 28-29 at 1; Exs. 30-33). Among

            7    other information, the documents state, with respect to the subjects of Plaintiffs’ complaint:

            8            •   That program fees compensate EDJ for the additional advisory services clients receive as
                             part of Advisory Programs, and that a portion of the fees go to the financial advisor. See,
            9                e.g., Exs. 7-8 at 6-7, 9, 19-20; Ex. 9 at 5-6, 9, 21; Ex. 10 at 5-6, 9, 20; Ex. 11 at 8-9, 11,
                             21; Ex. 12 at 9-10, 12, 22.
          10
                         •   That, as with brokerage commissions, fees from Advisory Programs, as well as the
          11                 amount of assets under care, can affect a financial advisor’s ability to receive a bonus and
                             other compensation such as travel. See, e.g., Exs. 7-8, 10 at 20; Ex. 9 at 21; Ex. 11 at 21-
          12                 22; Ex. 12 at 22.
          13             •   That investing in Advisory Program accounts may cost more than brokerage accounts,
                             which offer many of the same or similar investments, and clients acknowledge that the
          14                 services provided add value that justifies any additional expenses. See, e.g., Ex. 11 at 3, 6;
                             Ex. 12 at 3, 7; Ex. 7-10 at 3; Exs. 14-17 at 24; Exs. 18-19 at 7; Exs. 30-33.
          15
                         •   That EDJ has an interest in affiliated mutual funds, including Bridge Builder, which is
          16                 available for Advisory Solutions clients, and does not retain a fee for investments in
                             Bridge Builder. See, e.g., Exs. 14-17 at 10; Ex. 38 at B-45-46.
          17
                         These disclosures help EDJ clients choose accounts that are appropriate for their individual
          18
                 preferences, and by acknowledging the disclosures, clients confirm they understand the implications
          19
                 of their choices. In fact, before opening an Advisory Program account, clients fill out a questionnaire
          20
                 with their investment objectives, life stages, time horizons, and risk tolerances. Exs. 14-17, 22 at 1-4.
          21
                 Clients decide for themselves which account is best for them; EDJ does not “move” assets into
          22
                 Advisory Program accounts, or make account selections for clients, as Plaintiffs suggest. Indeed,
          23
                 clients confirm that they are “not relying on the advice or recommendation of Edward Jones . . . as a
          24
                 primary basis for such decisions,” and believe the “advisory and other services provided . . . will add
          25
                 value to their overall investment experience that more than justifies the additional expenses.” 3
          26

          27      3
                      Exs. 14-17 at 8, 24-25 (confirming reading of brochure and that “Client made its own decision to
                      invest in the Program.”); Exs. 18-19 at 2 (“I have made an independent determination to
          28          participate in Guided Solutions based on . . . the source and amount of assets that I have available
                      . . . , [my] time horizon . . . financial situation, investment objectives and risk tolerance.”), 7.
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                                                                      5       MOTION TO DISMISS AMENDED COMPLAINT
            1                                             III.    ARGUMENT

            2    A.      The Exchange Act Claims Fail as a Matter of Law

            3            1.      Plaintiffs Fail to State a Claim for a Material Misstatement or Omission

            4            “Section 10(b) of the Securities Exchange Act of 1934 and the Securities and Exchange

            5    Commission’s Rule 10b-5 prohibit making any material misstatement or omission in connection with

            6    the purchase or sale of any security.” Halliburton Co. v. Erica P. John Fund, Inc., 134 S. Ct. 2398,

            7    2407 (2014). Private plaintiffs asserting such claims must adequately plead, among other things,

            8    (1) a material misrepresentation or omission made by the defendant; (2) scienter; (3) actual and

            9    justifiable reliance; (4) economic loss; and (5) loss causation. NVIDIA, 768 F.3d at 1053.

          10             Plaintiffs “must satisfy both the pleading requirements of the PSLRA and the heightened

          11     pleading standard of [Fed. R. Civ. P.] 9(b).” Id. at 1057-58. For example, they must “specify each

          12     statement alleged to have been misleading, [and] the reason or reasons why the statement is

          13     misleading.” E.g., 15 U.S.C. § 78u-4(b)(1); Zucco Partners, LLC v. Digimarc Corp., 552 F.3d 981,

          14     991 (9th Cir. 2009). For all allegations not within plaintiffs’ personal knowledge, they must reveal

          15     “the sources of [their] information.” In re Silicon Graphics, Inc. Sec. Litig., 183 F.3d 970, 985 (9th

          16     Cir. 1999); Rubke v. Capitol Bancorp Ltd, 551 F.3d 1156, 1166 (9th Cir. 2009). 4 “By requiring

          17     specificity,” the PSLRA “prevents a plaintiff from skirting dismissal by filing a complaint laden with

          18     vague allegations of deception unaccompanied by a particularized explanation stating why the

          19     defendant’s alleged statements or omissions are deceitful.” Metzler Inv. GMBH v. Corinthian

          20     Colleges, Inc., 540 F.3d 1049, 1061 (9th Cir. 2008). Plaintiffs fall far short of these standards here.

          21                     a.     Plaintiffs Fail to Plead Any “Untrue” or “Misleading” Statement (or
                                        Omission) of Material Fact
          22
                         As the Supreme Court has recently emphasized, a claim under Rule 10b-5(b) requires an
          23
                 affirmative statement: it is unlawful “to make any untrue statement of a material fact or to omit to
          24

          25
                  4
                      Although Plaintiffs do not identify him as a source, they apparently are being aided by the former
          26          EDJ financial advisor to four of them—who was discharged by EDJ in December 2014 for
                      unauthorized trading in client accounts and lying to compliance personnel, and who sued the Firm
          27          in an unsuccessful FINRA arbitration and a pending defamation action, while represented by one
                      of Plaintiffs’ counsel here. Gundersen v. Edward Jones, et al., No. 15-CV-01484 (Cal. Super. Ct.
          28          filed Sept. 9, 2015); see also Ex. 45 at 8-10.

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                                                                     6       MOTION TO DISMISS AMENDED COMPLAINT
            1    state a material fact necessary in order to make the statements made . . . not misleading.” 5 Plaintiffs

            2    attempt to characterize their claims as based on “material omissions,” ¶¶ 1, 104-114, but that is a

            3    pleading artifice, likely designed to try to avoid the burden to plead reliance, which would preclude

            4    class treatment. See infra Part III.A.1.c. As Plaintiffs admit elsewhere in their complaint, their

            5    claims are based on supposed “untrue” or “misleading” statements. E.g., ¶ 157 (alleging

            6    “incorrect[]” assertions about DOL Rule); ¶ 200 (challenging “the statements made”); ¶ 206(c)

            7    (same); ¶ 242 (EDJ “made numerous untrue statements of material fact . . . as alleged herein”); ¶ 244

            8    (same); see also, e.g., Dkt. 1 at ¶¶ 1, 6, 81-84, 93, 102, 132, 134, 137 (alleging “misleading,” “false,”

            9    or “untrue” “statements”); Dkt. 14 at 2 (EDJ “made misleading statements”). Even Plaintiffs’

          10     laundry list of purported “omissions” leads with EDJ’s supposed failure to provide “accurate”

          11     program descriptions—a veiled misstatement theory. ¶ 112 (emphasis added).

          12             Indeed, EDJ provided extensive disclosures on all of the topics at issue. Artful pleading

          13     cannot “transform” the claims into omissions theories, as they are necessarily “based as much on

          14     what is there as what is purportedly missing.” Poulos v. Caesers World, Inc., 379 F.3d 654, 667 (9th

          15     Cir. 2004); see also, e.g., Binder v. Gillespie, 184 F.3d 1059, 1064 (9th Cir. 1999); In re Interbank

          16     Funding Corp. Sec. Litig., 629 F.3d 213, 216-20 (D.C. Cir. 2010) (plaintiffs cannot “superimpose[]”

          17     omissions theory over alleged misstatements at the “crux” of the case); In re Volkswagen “Clean

          18     Diesel” Mktg., Sales Prac., & Prod. Liab. Litig., 2018 WL 1142884, at *6 (N.D. Cal. Mar. 2, 2018)

          19     (claims not primarily for omissions when “predicated on affirmative statements”).

          20             Moreover, several allegedly omitted pieces of information are not facts at all, but rather

          21     Plaintiffs’ unsupported conclusions, which cannot support a claim under Rule 10b-5. 6 In any event,

          22      5
                      17 C.F.R. § 240.10b-5(b); Matrixx Initiatives Inc. v. Siracusano, 563 U.S. 27, 37 (2011); Janus
          23          Capital Grp., Inc. v. First Deriv. Traders, 564 U.S. 135, 142-43 (2011); see also NVIDIA, 768
                      F.3d at 1056 (under “Rule 10b-5, material information need not be disclosed unless omission of
          24          that information would cause other [statements] to be misleading”); cf. Chiarella v. United States,
                      445 U.S. 222, 229-31 (1980) (addressing insider trading claims). Here, Plaintiffs do not
          25          challenge any statements “made” by any defendant other than Edward D. Jones & Co., which is
                      an independent basis for dismissal as to all other defendants. Janus, 564 U.S. at 142-43.
          26      6
                      See, e.g., ¶¶ 106-08, 112 (asserting that EDJ did not conduct a “sufficient” suitability analysis;
                      “benefit[s] [itself] at [clients’] expense”; and acted “not in [clients’] best interest”); cf. Brown v.
          27          Brewer, 2010 WL 2472182, at *24 (C.D. Cal. June 17, 2010) (“As there is no duty of self-
                      accusation, these proffered material omissions cannot support [an Exchange Act] claim[;] . . .
          28          unless and until [adjudication of them] they . . . simply could not have been material.”); In re
                      Citigroup, Inc. Sec. Litig., 330 F. Supp. 2d 367, 377 (S.D.N.Y. 2004) (similar).
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                                                                       7       MOTION TO DISMISS AMENDED COMPLAINT
            1    EDJ’s statements were clear and robust, and did not misstate (or omit) any material facts.

            2            1.      Statements Comparing Different Account Types. Plaintiffs claim that EDJ made

            3    statements that did not “accurate[ly] descri[be] the material differences between . . . commission-

            4    based accounts and the fee-based accounts” (¶ 112), including that investing through Advisory

            5    Programs “would result in a higher fee to its formerly commission-based clients” (¶¶ 106-108, 112).

            6    This is patently incorrect. Among other things, clients receive the Making Good Choices brochure,

            7    which explicitly breaks down material differences between the account types. Supra Part II. In

            8    addition, clients receive program-specific brochures that describe program features, investment

            9    options, and fees in great detail. Id. Those various program brochures (¶¶ 90, 107, 199) explain that

          10     investing through an Advisory Program account “may cost you more or less than purchasing advisory

          11     services and brokerage services separately, depending on certain factors, such as the frequency of

          12     your trading.” E.g., Ex 11 at 6; id. at 3 (“[i]t is important . . . to consider the additional costs

          13     associated with an advisory program before investing.”); Exs. 30-33. They also explain that investors

          14     may “purchase many of the same or similar investments as those available in an advisory program for

          15     a lower fee through Edward Jones as a broker-dealer, although [they] will not receive the additional

          16     advisory services.” 7 After receiving and acknowledging these disclosures, Plaintiffs chose to receive

          17     the additional advisory services and agreed to pay for them. No particularized factual allegations

          18     show that EDJ’s statements were “untrue” or “misleading.” 17 C.F.R. § 240.10b-5(b).

          19             2.      Statements Regarding Fees. Plaintiffs further claim that EDJ did not “accurate[ly]

          20     descri[be] fees charged by Advisory Programs” and “[t]he cost and impact” of the fees. ¶ 112. But

          21     Plaintiffs acknowledge receiving a schedule of fees (¶ 107, see, e.g., Exs. 28-29), which is an outline

          22     of the exact annual fee rate as compared to the value of the account investments, as well as an

          23     estimate of their specific fees. See also, e.g., Exs. 24-26 at 8. In addition to the disclosures discussed

          24     above comparing fees for the various account types, program brochures identified the “impact of the

          25

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                  7
                      Exs. 7-13 at 3 (emphasis added); see also Exs. 14-15, 17 at 24 (“Mutual funds, ETFs and money
          27          market funds can be purchased directly through . . . a brokerage account, subject to sales charges
                      and/or commissions. An Advisory Solutions Fee would not be assessed, therefore making a
          28          brokerage account alternative generally a lower cost alternative . . . .”); Ex. 19 at 7.

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                                                                       8       MOTION TO DISMISS AMENDED COMPLAINT
            1    fees,” including that “[a]ny internal fees and expenses charged by a mutual fund or ETF, as well as

            2    the fees you pay for [advisory services], will reduce your account’s investment performance.” 8

            3            Moreover, the Client Services Agreement each Plaintiff signed stated that “[t]he Program Fee

            4    compensates [EDJ] for providing advisory services,” and that “[a] portion of the Program Fee is paid

            5    to the financial advisor.” See, e.g., Exs. 14-15 at 16; Ex. 17 at 17. EDJ also explained that “[a]

            6    financial advisor will typically earn more in upfront fees and commissions when you use brokerage

            7    services . . . [and] more over time if you invest in [Advisory Programs].” Ex. 7-8, 10 at 9; Ex. 11 at

            8    11; Ex. 12 at 12.9 Plaintiffs make no particularized factual allegations to specify why these

            9    disclosures supposedly were false or misleading.

          10             Plaintiffs also make the conclusory claim that EDJ “incentivize[d] its financial advisors by

          11     promoting, giving pay raises and/or bonuses to, and/or not terminating advisors who moved their

          12     clients with commission-based accounts to an Advisory Program, even when it was not in their

          13     clients’ best interest.” ¶¶ 68, 106-113, 183. The complaint is devoid of any particularized factual

          14     allegations to support that characterization. Plaintiffs’ allegation that compensation was “revenue-

          15     based” does not suggest that it depended on account type. ¶¶ 4, 152. The disclosures Plaintiffs

          16     received clearly stated that (as with commissions) the fees paid as part of Advisory Programs, as well

          17     as the amount of assets under care, can “impact your financial advisor’s eligibility for a bonus,” and

          18     that “Program Fees . . . are counted toward qualifying for the [Diversification/Travel Award]

          19     Program.” Exs. 7-8, 10 at 20; Ex. 11 at 21-22; Ex. 12 at 22. Plaintiffs again fail to plead any

          20     particularized factual allegations to suggest that these disclosures were “untrue” or “misleading.”

          21             3.      Statements Regarding Affiliated Mutual Funds. Plaintiffs claim EDJ failed to disclose

          22     that its Bridge Builder family of mutual funds “is owned by, and financially benefits, Edward Jones,

          23     at the expense of its clients” (¶ 112), and “Defendants received an extra financial boost by investing

          24     clients’ assets in Bridge Builder – on top of the asset-based fees they received from clients after

          25     moving their accounts into Advisory Solutions” (¶ 90). See also ¶¶ 85, 89. These allegations are

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                  8
                      Ex. 11 at 11; id. at 8; Ex. 12 at 9 and 12; Exs. 7-8, 10 at 6; Exs. 14-15, 17 at 8-9; Exs. 18-19 at 2.
          27
                  9
                      To the extent Plaintiffs suggest otherwise, “the precise allocation of those fees is not material . . .
          28          under the securities laws.” In re Merrill Lynch Inv. Mgmt. Funds Sec. Litig., 434 F. Supp. 2d 233,
                      238 (S.D.N.Y. 2006); Hoffman v. UBS-AG, 591 F. Supp. 2d 522, 532 (S.D.N.Y. 2008) (similar).
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                                                                       9       MOTION TO DISMISS AMENDED COMPLAINT
            1    doubly flawed. First, EDJ repeatedly disclosed its ownership interest in Bridge Builder and other

            2    affiliated funds. E.g., Ex. 38 at B-45-46; Ex. 7 at 9; see also, e.g., Ex. 2 at 86. Second, as EDJ

            3    explained, it waives all management fees related to Bridge Builder (and other affiliated funds) apart

            4    from those paid to unaffiliated third-party sub-advisers. 10 Plaintiffs plead no particularized factual

            5    allegations to the contrary.

            6            4.      Statements Regarding Suitability. Plaintiffs cite FINRA Rule 2111, which requires “a

            7    reasonable basis to believe that a recommended transaction or investment strategy . . . is suitable for

            8    the customer, based on . . . reasonable diligence . . . to ascertain the customer’s investment profile,”

            9    i.e., individualized factors including “age,” “investment objectives,” and “time horizon.” ¶¶ 72, 79,

          10     196, 199. Recognizing that there is no private right of action under that rule, 11 and that they cannot

          11     plead an actual unsuitability claim under Section 10(b), 12 Plaintiffs focus on supposed misstatements

          12     relating to the extent of EDJ’s suitability analysis. Plaintiffs begin by accusing EDJ of a supposed

          13     “absence of any measures taken to determine the suitability of Advisory Programs for clients”; but

          14

          15     10
                      Ex. 38 at B-46 (chart outlining the $0 net advisory fees for Bridge Builder). The Bridge Builder
                      prospectuses state: “[t]he Adviser has contractually agreed to waive its management fees to the
          16          extent management fees to be paid to the Adviser exceed the management fees the Adviser is
                      required to pay the Fund’s Sub-Advisers.” Ex. 37 at 1, B-47; Ex. 38 at B-46. Client agreements
          17          and brochures confirm the same. Exs. 14-15, 17 at 10; Exs. 7-8, 10 at 7; Ex. 11 at 9-10; Ex. 12 at
                      10-11; see also Ex. 2 at 40-41, 86.
          18
                      Similarly, and contrary to Plaintiffs’ presumption (¶ 59), EDJ explicitly disclosed to Guided
          19          Solutions clients that while “[c]ash balances awaiting investment or reinvestment . . . will be
                      automatically swept into the Edward Jones Money Market Fund” (Exs. 18-19 at 1), and that
          20          “Edward Jones is the direct or indirect owner of 100% of the adviser” of the fund and “receives
                      various revenues related to assets in the money market fund,” EDJ “will apply a fee offset [to the
          21          Program Fees] equal to the amount of the [] Revenue received by Edward Jones” for investments
                      in the fund, and thus not receive the “asset-based fee revenue” that normally would apply to the
          22          fund (Ex. 12 at 11; see also Ex. 11 at 22).
                 11
          23          See, e.g., Jablon v. Dean Witter & Co., 614 F.2d 677, 680-81 (9th Cir. 1980) (holding that the
                      Exchange Act does not provide a private cause of action for NASD rules); Weinraub v. Glen
          24          Rauch Sec., Inc., 399 F. Supp. 2d 454, 462 (S.D.N.Y. 2005) (same, NASD and FINRA rules).
                 12
                      Plaintiffs cannot plead the elements of such a claim, which include: “(1) that the securities
          25          purchased were unsuited to the buyer’s needs; (2) that the defendant knew or reasonably believed
                      the securities were unsuited to the buyer’s needs; (3) that the defendant recommended or
          26          purchased the unsuitable securities for the buyer anyway; (4) that, with scienter, the defendant
                      made material misrepresentations . . . relating to the suitability of the securities; and (5) that the
          27          buyer justifiably relied to its detriment . . . .” E.g., Brown v. E.F. Hutton Grp., Inc., 991 F.2d
                      1020, 1031 (2d Cir. 1993). Plaintiffs certainly could not meet the required elements on a class-
          28          wide basis. See Yokoyama v. Midland Life Ins. Co., 239 F.R.D. 607, 608 (D. Haw. 2006)
                      (“[I]ndividual issues clearly predominate in the Plaintiffs’ suitability-based claims . . . .”).
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                                                                      10      MOTION TO DISMISS AMENDED COMPLAINT
            1    they later backtrack, saying instead that the Firm did not conduct a “sufficient analysis,” thereby

            2    acknowledging that measures were taken to assess suitability. ¶¶ 1, 112 (emphases added).

            3            In fact, as the complaint and the materials incorporated in it reflect, EDJ took extensive steps

            4    to assess whether Advisory Program accounts were suitable choices for each individual investor.

            5    Those steps included: (a) in-person meetings with financial advisors; (b) providing the Making Good

            6    Choices brochure, which lays out the account options and the type of investor best suited for each one

            7    (Exs. 30-33); (c) including extensive disclosures in client account agreements and brochures (see Exs.

            8    7-19); (d) using client questionnaires with investment goals and portfolio objectives (EDJ “scores

            9    certain answers to determine your risk tolerance . . . life stage or time horizon”) (Exs. 7-8, 10 at 4; see

          10     also Exs. 14-15, 17, 22 at 1-4; Exs. 24-26); (e) review of new accounts by supervisory personnel

          11     (Exs. 7-8, 10 at 19; Ex. 11 at 20; Ex. 12 at 21); and (f) follow-up discussions and continuing

          12     supervisory reviews as appropriate (Exs. 7-8, 10 at 19; Ex. 11 at 20-21; Ex. 12 at 21-22).

          13             The suggestion that these steps were not “sufficient” is a legal conclusion—not a material

          14     fact—that is unsupported by any particularized factual allegations (or any law). Plaintiffs allude to

          15     higher payments to EDJ and Plaintiffs’ supposedly infrequent trading while in brokerage accounts (¶

          16     1), but that cannot carry their burden. Plaintiffs agreed that they wanted the “additional” services that

          17     these programs offer, e.g., supra n.7, which are designed to help manage portfolios more

          18     effectively. 13 In addition to failing to adequately plead any misstatement (or omission), any claim

          19     based on an allegation that the steps taken to assess suitability for individual investors were not

          20     sufficient is simply not viable on a class-wide basis. See Fernandez v. UBS AG, 2018 WL 4440498,

          21     at *3-4 & n.3 (S.D.N.Y. Sept. 17, 2018) (denying class certification on claim that defendant breached

          22     express contractual obligations by “failing to perform any suitability analysis,” and noting that a

          23     “client-focused suitability analysis” entails “a highly individualized determination”).

          24             5.      Statements Regarding the DOL Rule. Plaintiffs also suggest vaguely that EDJ

          25
                 13
                      Plaintiffs also suggest that Advisory Programs were not suitable for investors who had purchased
          26          class A share mutual funds but had “not yet reap[ed] the full benefit of their initial front-end
                      cost.” ¶ 98. That theory is conclusory, and ignores the fact that EDJ, as it disclosed, “review[ed]
          27          how [clients] funded [their] account[s], considering such factors as how long [they] held the
                      investments [they] sold in order to fund the account” (Ex. 10 at 19; see also id. at 7 (Fee
          28          Reduction); Exs. 7-8 at 7-8, 19; Ex. 11 at 10, 20; Ex. 12 at 11, 21) and could “discount[] or
                      reduce[]” the program fee where appropriate (Exs. 28-29).
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                                                                     11       MOTION TO DISMISS AMENDED COMPLAINT
            1    misstated the requirements of the DOL Rule in explaining that it was an impetus for some of the

            2    changes to its commission-based retirement accounts. ¶¶ 46, 49. In addition to not pointing to any

            3    particular statements by the Firm, cf. Ex. 41, Plaintiffs incorrectly characterize the 275+ pages of the

            4    DOL Rule as simply requiring boilerplate certifications of “best interest.” See, e.g., ¶ 42. That is

            5    plainly wrong. Promulgated in April 2016, the Rule “fundamentally transform[ed] over fifty years of

            6    settled and hitherto legal practices in a large swath of the financial services and insurance industries.”

            7    Chamber of Commerce, 885 F.3d at 363. The Rule prohibited transaction-based commissions in

            8    retirement accounts (which were deemed to be a conflict of interest), except pursuant to a “Best

            9    Interest Contract Exemption” (“BICE”). The BICE required financial advisors to enter into complex

          10     contracts “with a web of duties and legal vulnerabilities”—including significant diligence,

          11     documentation, and disclosure burdens, with consequences for non-compliance. Id. at 366-67. In

          12     vacating the Rule, the Fifth Circuit noted that it adversely impacted small account investors because

          13     “brokerage and insurance firms cannot afford to service small accounts, given the regulatory

          14     burdens.” Chamber of Commerce, 885 F.3d 360, 368 (emphasis added); see also supra n.1. EDJ

          15     openly anticipated these issues—not as a “marketing strategy,” ¶ 49, but in a public letter to

          16     regulators setting forth its concerns. Ex. 44.

          17            Despite the vast regulatory burden associated with the Rule—and in particular with

          18     implementation of the BICE—EDJ determined to continue to offer its clients account choices

          19     consistent with the Rule. For example, EDJ allowed all IRA clients to grandfather their accounts, and

          20     allowed new transactional accounts with minimums to be opened for the purchase of stocks, bonds,

          21     and variable annuities. ¶ 61. Contrary to Plaintiffs’ contentions (¶¶ 63, 176), the burdens imposed by

          22     the Rule made it prohibitively difficult to allow IRA investors to purchase mutual funds on

          23     commission. In particular, the “neutral factors” analysis required a showing that a product’s

          24     commission was reasonable based upon “the skill of the financial advisor, the complexity of a . . .

          25     product and the time spent explaining [its] features.” Ex. 44 at 3-4. Moreover, adjustments to

          26     account minimums were made to help ensure compliance—and no EDJ policy “put” clients into any

          27     account without their written consent. Cf. ¶¶ 61, 63.

          28            Plaintiffs do not allege that the restrictions designed to meet the Rule remain in effect now

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            1    that it has been vacated (and they do not). The suggestion that EDJ used the DOL Rule as a pretext

            2    is—like the rest of the claimed misstatements or omissions—entirely unsupported.

            3                   b.      Plaintiffs Fail to Plead Scienter

            4           Plaintiffs also fail to adequately plead the requisite “strong inference” of “scienter”—i.e., a

            5    “mental state embracing intent to deceive, manipulate, or defraud.” Ernst & Ernst v. Hochfelder, 425

            6    U.S. 185, 193 n.12 (1976); Tellabs v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322-23 (2007); 15

            7    U.S.C. § 78u-4(b)(2). Plaintiffs must plead particularized factual allegations, using “great detail,”

            8    Silicon Graphics, 183 F.3d at 974, and point to “specific contemporaneous statements or conditions

            9    that demonstrate the intentional or the deliberately reckless false or misleading nature of the

          10     statements when made.” Ronconi v. Larkin, 253 F.3d 423, 432 (9th Cir. 2001) (emphases added);

          11     NVIDIA, 768 F.3d at 1053. And, to be “strong,” the inference of scienter must be “cogent” and

          12     “compelling” in light of competing “innocent inferences.” Zucco, 552 F.3d at 991. Here, by far the

          13     most compelling inference is that Defendants always endeavored to (and did) comply with the law,

          14     and believed (correctly) that the Firm’s disclosures were truthful and adequate.

          15            Plaintiffs mainly claim that individual Defendants had scienter from “day-to-day involvement

          16     in” managing departments or individuals responsible for purported misstatements. See, e.g., ¶¶ 120-

          17     193. But such conclusory allegations fall far short of the standard. E.g., Zucco, 552 F.3d at 998.

          18     “[P]laintiffs must do more than allege that . . . officers had the requisite knowledge by virtue of their

          19     ‘hands-on’ positions, because that would eliminate the necessity for specially pleading scienter . . . .”

          20     In re Autodesk, Inc. Sec. Litig., 132 F. Supp. 2d 833, 844 (N.D. Cal. 2000). Plaintiffs also refer to a

          21     supposed profit motive (¶¶ 183, 201, 215, 224), but that too is insufficient. Silicon Graphics, 183

          22     F.3d at 979; Glazer Cap. Mgmt., LP v. Magistri, 549 F.3d 736, 745 (9th Cir. 2008). That the

          23     accounts generated revenue does not imply intent to defraud; it suggests the account options were

          24     popular. And the claim that fees were “high[]” is not actionable, wholly conclusory, and unsupported

          25     by analysis of true peer firm services or the all-in costs of investing. ¶¶ 92-93; supra Part III.A.1.a.3.

          26            Unlike in many securities cases, Plaintiffs do not rely on information from confidential

          27     witnesses. E.g., Zucco, 552 F.3d at 998. They do not reveal the sources for their purported beliefs at

          28     all, which is reason enough to reject those claims. E.g., Rubke, 551 F.3d at 1166. Instead, for

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                                                                     13      MOTION TO DISMISS AMENDED COMPLAINT
            1    example, they make vague, conclusory allegations of “pressure” and “veiled threat[s]” from

            2    supervisory personnel, without even attempting to provide particularized factual support. ¶¶ 56, 164;

            3    see also supra n.4. Plaintiffs cite only a single supposedly internal document they apparently found

            4    online, but they plead no particularized facts to support their mischaracterization of that MBA course

            5    project as a presentation to, or sanctioned by, management. Supra p.3; Graf Decl. Also inadequate

            6    are vague media comments or assertions from long-departed former employees. E.g., ¶¶ 37, 56.

            7           Also unlike most securities cases, Plaintiffs do not identify a single allegedly false or

            8    misleading statement in EDJ’s SEC filings. To the contrary, Plaintiffs implausibly suggest that

            9    evidence of fraud was published in EDJ’s Forms 10-K (¶¶ 5, 58, 66, 68, 188), its public comment

          10     letters regarding the DOL Rule (¶ 49), and statements by its managing partner. “Surely, such public

          11     disclosure speaks to Defendants’ belief—and the existence or lack of scienter—that the [business

          12     strategy] was legal.” E.g., In re Zillow Group, Inc. Sec. Litig., 2018 WL 4735711, at *8 (W.D. Wash.

          13     Oct. 2, 2018). Not a single fact is pleaded to suggest that any Defendant shared Plaintiffs’ simplistic

          14     view of the DOL Rule or suspected, much less intended, that the Firm’s efforts to ensure compliance

          15     were somehow designed to violate the law. Nor do any particularized factual allegations even

          16     suggest any basis to believe—much less actual awareness—that EDJ’s extensive steps to work with

          17     its clients to tailor an appropriate investment strategy were not “sufficient.” See, e.g., ¶¶ 194, 200.

          18            By contrast, under the requisite “holistic review,” Tellabs, 551 U.S. at 324, by far the most

          19     compelling inference is that Defendants believed the Firm’s disclosures were fulsome and accurate,

          20     and that offering clients the option to choose fee-based accounts was appropriate. The detailed

          21     disclosures that Plaintiffs concede they received support the innocent inference and refute the

          22     suggestion of fraud. It is impossible to view the Making Good Choices brochure, for example, as

          23     anything other than a clear and simple description of Plaintiffs’ options, and the details were set forth

          24     in numerous additional disclosures. Supra Parts II, III.A.1. Plaintiffs also cite numerous training,

          25     compliance, and supervisory functions instituted by the Firm to oversee adherence to legal standards,

          26     including the complex DOL Rule. See, e.g., ¶¶ 42-46, 131-33, 160-68. In short, rather than implying

          27     fraud, the facts pled in the complaint depict a firm that provides a wealth of information to its clients

          28     and is committed to following the law. There is no inference of scienter, much less a “strong” one.

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            1                    c.      Plaintiffs Fail to Plead Reliance

            2            “Reliance by the plaintiff . . . is an essential element of the § 10(b) private cause of action.”

            3    Stoneridge Inv. Partners, LLC, v. Scientific-Atlanta, Inc., 552 U.S. 148, 159 (2008). Reliance must

            4    be actual and “justifiable,” to ensure “that there is a causal connection between the [alleged]

            5    misrepresentation and the [alleged] harm.” E.g., Paracor Fin., Inc. v. Gen. Elec. Capital Corp., 96

            6    F.3d 1151, 1159 (9th Cir. 1996). “The traditional (and most direct) way a plaintiff can demonstrate

            7    reliance is by showing that he was aware of a company’s statement and engaged in a relevant

            8    transaction . . . based on [it].” Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S. 804, 810 (2011).

            9            Here, Plaintiffs do not even in conclusory fashion claim actual reliance on the statements. See

          10     Schwab v. E*Trade Fin. Corp., 285 F. Supp. 3d 745, 753 (S.D.N.Y. 2018) (dismissing Section 10(b)

          11     claim “[b]ecause plaintiff has again failed to allege he actually read, or was otherwise aware of [the]

          12     representations”). The closest Plaintiffs come is boilerplate that they relied on EDJ’s “fiduciary

          13     capacity” and “representation,” ¶ 216, but that is not the same as relying on allegedly deceptive

          14     statements or conduct. “[T]his theory of reliance—if accepted—would amount to a novel

          15     presumption” that would improperly swallow the reliance element. 14

          16             In fact, in the original complaint, Plaintiffs acknowledged the lack of reliance by asserting

          17     that at least some of them did not read the disclosures they received. Dkt. 1 ¶ 80 (“Plaintiffs often

          18     simply signed any papers that the branch office administrator placed in front of them on their way out

          19     without question”); see Atari Corp. v. Ernst & Whinney, 981 F.2d 1025, 1030 (9th Cir. 1992);

          20     Teamsters Local 282 Pension Tr. Fund v. Angelos, 762 F.2d 522, 530 (7th Cir. 1985); Zobrist v.

          21     Coal-X, Inc., 708 F.2d 1511, 1517 (10th Cir. 1983); Gavin/Solmonese LLC v. D’Arnaud-Taylor, 68

          22     F. Supp. 3d 530, 542 (S.D.N.Y. 2014) (“Courts have generally found it unreasonable to rely on oral

          23     statements when, as here, there is a [writing] that each investor was required to read in full before

          24     investing.”); see also Stanislaus Food Prod. Co. v. USS-POSCO, 782 F. Supp. 2d 1059, 1075 (E.D.

          25     Cal. 2011) (“a court need not accept as true allegations in an amended complaint that contradict an

          26     earlier complaint without explanation”). Moreover, there can be no actual or justifiable reliance on

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                      In re Smith Barney Transfer Agent Litig., 884 F. Supp. 2d 152 (S.D.N.Y. 2012); In re Interbank
          28          Funding Corp. Sec. Litig., 668 F. Supp. 2d 44, 49-51, n.5 (D.D.C. 2009) (claim plaintiffs “relied
                      on Defendants to disclose all material facts . . . does not satisfy the standard for direct reliance”).
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            1    alleged statements about suitability because Plaintiffs confirmed they were “not relying on the advice

            2    or recommendation of Edward Jones . . . as a primary basis for such decisions.” Supra n.3;

            3    ScripsAmerica, Inc. v. Ironridge Glob. LLC, 119 F. Supp. 3d 1213 (C.D. Cal. 2015) (dismissing

            4    Section 10(b) claim where document acknowledged plaintiff did not rely).

            5           Nor does any recognized presumption of reliance apply here. Plaintiffs do not (and could not)

            6    invoke the efficient market presumption. Basic Inc. v. Levinson, 485 U.S. 224, 248 (1988). Rather,

            7    they try to fit into the narrow presumption of reliance under Affiliated Ute Citizens of Utah v. United

            8    States, 406 U.S. 128 (1972), which applies to claims based primarily on omissions. ¶ 209. But as

            9    explained above, because the claims actually concern (flawed) allegations of misstatements—or at

          10     most a mix of alleged misstatements and omissions, supra Part III.A.1.a—Affiliated Ute does not

          11     apply, particularly under the Ninth Circuit’s “restrictive” interpretation. Interbank, 629 F.3d at 219.

          12     Affiliated Ute is reserved for cases “where reliance would be difficult to prove because it was based

          13     on a negative.” Desai v. Deutsche Bank Sec. Ltd., 573 F.3d 931, 941 (9th Cir. 2009). But a plaintiff

          14     who had read and relied on EDJ’s statements could simply say so. And “that the plaintiff apparently

          15     did not read, and was not otherwise aware of, the . . . alleged misrepresentations does not transform

          16     this case from one about [alleged] misrepresentations into one ‘involving primarily a failure to

          17     disclose.’” Schwab, 285 F. Supp. 3d at 755. That defeats any claim of reliance.

          18                    d.      Plaintiffs Fail to Plead Causation of Any Losses
          19            Moreover, Plaintiffs fail to allege, with the requisite particularity, “a causal connection

          20     between the deceptive acts that form the basis for the claim of securities fraud and the injury

          21     suffered.” E.g., Ore. Pub. Employees Ret. Fund v. Apollo Grp. Inc., 774 F.3d 598, 608 (9th Cir.

          22     2014). First, Plaintiffs allege they paid more in fees than in commissions, but paying a higher fee for

          23     a higher level of services is not a “loss.” E.g., In re Salomon Smith Barney Mut. Fund Fees Litig.,

          24     441 F. Supp. 2d 579, 589 (S.D.N.Y. 2006). Indeed, Plaintiffs confirmed that the additional fees paid

          25     were justified by the additional Advisory Program services received. See supra Part II & n.3.

          26     Second, Plaintiffs do not even allege that they were worse off overall than if they had continued in

          27     brokerage accounts (presumably because at least some of them cannot), let alone identify any losses

          28     attributed to supposedly deceptive conduct. E.g., Apollo, 774 F.3d at 608. Third, for the claims

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            1    about suitability analysis, “Plaintiffs cannot [establish] the necessary element of causation without

            2    proving that the [Advisory Program accounts] were actually unsuitable for them.” Fernandez, 2018

            3    WL 4440498, at *20. Plaintiffs fail to allege actual unsuitability, however. See supra Part III.A.1.a.4

            4    & n.12. Fourth, as to statements concerning the DOL Rule and the changes it temporarily prompted,

            5    Plaintiffs do not allege that they affected them in any way, let alone with particularity.

            6            All of these defects are fatal to the claims for supposed misstatements or omissions.

            7            2.      Plaintiffs Fail to State a Claim for “Scheme Liability”
            8            Plaintiffs’ claims for “scheme” liability under Rule 10b-5(a) and (c) also should be dismissed,

            9    because the Ninth Circuit has squarely held that scheme liability must encompass manipulative or

          10     deceptive “conduct beyond . . . alleged misrepresentations or omissions.” WPP Luxembourg Gamma

          11     Three Sarl v. Spot Runner, Inc., 655 F.3d 1039, 1057-58 (9th Cir. 2011). The lines dividing the

          12     various Rule 10b-5 claims are “carefully maintained” and “well-established.” Desai, 573 F.3d at

          13     940-41; SEC v. Loomis, 969 F. Supp. 2d 1226 (E.D. Cal. 2013). 15 There is no aiding and abetting

          14     claim under Section 10(b), and participating in another’s statement “is not ‘conduct’ that can support

          15     . . . scheme liability.” 16 Moreover, a private “scheme” claim must meet the heightened pleading

          16     standards under the PSLRA and Rule 9(b). 17

          17             Here, although the complaint includes a section captioned supposed “omissions,” there is no

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          19          Accord, e.g., Lentell v. Merrill Lynch & Co., 396 F.3d 161, 177 (2d Cir. 2005); Pub. Pension
                      Fund Grp. v. KV Pharm. Co., 679 F.3d 972, 986 (8th Cir. 2012). A divided D.C. Circuit panel
          20          recently held to the contrary, Lorenzo v. SEC, 872 F.3d 578 (D.C. Cir. 2017), with then-Judge
                      Kavanaugh dissenting, and the Supreme Court has granted certiorari.
          21          Plaintiffs cite Geman v. SEC, 334 F.3d 1183 (10th Cir. 2003), to try to suggest that there is a
                      recognized “reverse churning” claim for purposes of “scheme liability” under the securities laws.
          22          ¶ 71. But Geman is a misstatement case, and the propriety of fee-based accounts was not at issue.
                      334 F.3d at 1190. Moreover, Plaintiffs’ “reverse churning” allegations, claiming that EDJ
          23          “plac[ed] client’s funds into a fee-based account for no reason other than to collect the fee” and
                      “the client often receives very little actual advice, trading, or account activity in exchange [for the
          24          fee],” ¶ 70, are belied by their representations that the additional services they receive “more than
                      justifies” the additional expenses. See supra Part II & n.3.
          25     16
                      Cent. Bank of Denver v. First Interstate Bank of Denver, 511 U.S. 164, 177 (1994); Abbate v.
          26          Wells Fargo, 2011 WL 9698215, at *3 (C.D. Cal. Nov. 17, 2011); In re Parmalat Sec. Litig., 376
                      F. Supp. 2d 472, 503 (S.D.N.Y. 2005) (“Subsections (a) and (c) are not a backdoor into . . . (b)”).
                 17
          27          The claims must also adequately plead scienter, reliance, economic loss, and loss causation, none
                      of which is present here. Stoneridge, 552 U.S. at 159-60; In re Peregrine Sys., Inc. Sec. Litig.,
          28          310 F. App’x 149, 150-51 (9th Cir. 2009); Simpson v. AOL Time Warner, 452 F.3d 1040, 1047

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            1    parallel section concerning allegations of supposed “manipulative” or “deceptive” conduct. See

            2    ¶¶ 104-14 & Table of Contents. Paragraph 1 characterizes the complaint as asserting a “scheme” to

            3    “ma[k]e material omissions.” A subsection of “background” allegations refers to a supposed

            4    “scheme,” (pp. 2, 15, ¶¶ 39-91), but that is largely devoted to mischaracterizations of EDJ’s fees and

            5    the DOL Rule, which are wholly conclusory as explained above. No particularized factual

            6    allegations suggest any Defendant “committed a manipulative or deceptive act”—i.e., “conduct that

            7    had the principal purpose and effect of creating a false appearance of fact.” Cooper v. Pickett, 137

            8    F.3d 616, 624 (9th Cir. 1997); Simpson, 452 F.3d at 1048. Plaintiffs do not allege anything like the

            9    requisite “sham” or “illegitimate” transactions that could not have a “principal legitimate business

          10     purpose.” See Simpson, 452 F.3d at 1050, 1053; Daifotis, 2011 WL 2183314, at *9.

          11            While the word “deceptive” only appears once in the complaint, Plaintiffs do sprinkle in

          12     conclusory uses of “manipulative” (notably, in both the Rule 10b-5(a)/(c) and (b) claims,

          13     underscoring that they are one and the same). ¶¶ 212, 215, 222, 227. But “manipulative” is a “term

          14     of art and refers generally to practices, such as wash sales, matched orders, or rigged prices, that are

          15     intended to mislead investors by artificially affecting market activity” and “simulating market activity

          16     that does not reflect genuine investor demand.” Santa Fe Indus., Inc. v. Green, 430 U. S. 462, 476-

          17     477 (1977); Desai, 573 F.3d at 940-41. Plaintiffs plead nothing like that here. For example, the

          18     insinuation that a computer system was “cumbersome,” or provided automated recommendations

          19     about account types in “the Agreement that Class Members signed” (¶¶ 154-155)—which is certainly

          20     not pleaded with anything approaching particularity—explicitly refers to the disclosures made to

          21     investors. Likewise, the conclusory allegations that clients were “compelled” into Advisory

          22     Programs (¶ 212) by the Firm’s response to the DOL Rule or otherwise do not involve manipulative

          23     (or deceptive) conduct. Where “a transaction’s terms are fully disclosed,” there can be no “scheme”

          24     claim. E.g., In re Merrill Lynch Auction Rate Sec. Litig., 704 F. Supp. 2d 378, 390 (S.D.N.Y. 2010);

          25     ScripsAmerica, 119 F. Supp. 3d at 1237. The failure to plead scienter, reliance, or loss causation is

          26
                    (9th Cir. 2006); Veltex Corp. v. Matin, 2010 WL 3834045, at *6 n.9 (C.D. Cal. 2010); In re
          27        Splash Tech. Inc. Sec. Litig., 2000 WL 1727377, at *5 n.2 (N.D. Cal. Sept. 29, 2000); 15 U.S.C. §
                    78u-4(b)(2). Simpson includes dicta on the reliance element that is in tension with Stoneridge and
          28        so was vacated. Simpson nonetheless is persuasive, including for its holding about what conduct
                    can be “deceptive.” SEC v. Daifotis, 2011 WL 2183314, at *9 (N.D. Cal. June 6, 2011).
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            1    fatal as well, as with the other Exchange Act claims. See supra Part III.A.1.b-d & n.17.

            2    B.      The Securities Act Claims Fail as a Matter of Law
            3            Plaintiffs’ claims under Section 12(a)(2) of the Securities Act fail because they do not allege

            4    that they purchased securities in a public offering pursuant to a “prospectus” (or oral communication

            5    relating thereto) that contains a misstatement. 18 In addition to pleading no misstatement with

            6    particularity (supra Part III.A.1.a), the complaint cites no “prospectus” at all. See ¶¶ 237-

            7    245. Plaintiffs point only to the account agreements and brochures, which are not prospectuses.

            8    Moreover, the absence of loss causation also defeats the Section 12(a)(2) claims: “the face of [the

            9    complaint] demonstrates negative causation.” See Brown v. Ambow Educ. Holding Ltd., 2014 WL

          10     523166, at *14-16 (C.D. Cal. Feb. 6, 2014); 15 U.S.C. § 77l(b); supra Part III.A.1.c, d.

          11                                                 *       *      *

          12             The failure to adequately plead primary liability also defeats the control person claims. E.g.,

          13     NVIDIA, 768 F.3d at 1052. All of the federal securities claims should be dismissed.

          14     C.      The State Law Claims Are Precluded by Federal Law
          15             After passage of the PSLRA, plaintiffs began trying to avoid that statute’s rigorous

          16     requirements by asserting “what were essentially federal securities law claims as state law causes of

          17     action.” Northstar Fin. Advisors, Inc. v. Schwab Investments, 904 F.3d 821, 828 (9th Cir. 2018). In

          18     response, Congress enacted SLUSA to preclude “covered” state law class actions (i.e., more than 50

          19     plaintiffs) alleging misstatements, omissions, or deceptive conduct in connection with the sale of

          20     “covered” securities, including those “issued by an investment company registered under the

          21     Investment Company Act of 1940.” 15 U.S.C. § 77p(b); Merrill Lynch, Pierce, Fenner & Smith Inc.

          22     v. Dabit, 547 U.S. 71, 83 (2006); Freeman Inv., L.P. v. Pac. Life Ins. Co., 704 F.3d 1110, 1115 & n.3

          23     (9th Cir. 2013). This is a covered class action, ¶ 203, and the investments in the accounts include

          24     covered securities, such as the Bridge Builder mutual funds featured in the complaint. See Dkt. 14-1,

          25     Exs. 34-39.

          26             SLUSA applies even though Plaintiffs purport not to incorporate their allegations of “material

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                      Gustafson v. Alloyd Co., 513 U.S. 561, 569 (1995); Miller v. Thane Int’l, 519 F.3d 879, 885 (9th
          28          Cir. 2008); Mallen v. Alphatec Holdings, 861 F. Supp. 2d 1111, 1122 (S.D. Cal. 2012); In re Levi
                      Strauss & Co. Sec. Litig., 527 F. Supp. 2d 965, 982-83 (N.D. Cal. 2007); Fed. R. Civ. P. 9(b).
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            1    omissions” into the fiduciary duty claims. ¶¶ 252, 263. Plaintiffs cannot “avoid preclusion through

            2    artful pleading that removes words . . . but leaves in covered concepts.” Northstar, 904 F.3d at 829.

            3    Indeed, “SLUSA bars . . . any [state law class] claim that could give rise to liability under § 10(b) or

            4    Rule 10b-5,” including attempts to plead “manipulative” or “deceptive” conduct (which Plaintiffs do

            5    not purport to excise). Fleming v. Charles Schwab Corp., 878 F.3d 1146, 1154 (9th Cir. 2017). 19

            6                                             IV.    CONCLUSION
            7            The motion to dismiss should be granted, with prejudice and without leave to amend.
            8    Dated: November 21, 2018                       By:            /s/ Meryl L. Young
            9                                                   MERYL L. YOUNG
                                                                GIBSON, DUNN & CRUTCHER LLP
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                      In any event, Plaintiffs’ allegations “sound in fraud” and fail to state a breach of fiduciary duty
                      claim. Supra; Tribeca Cos., LLC v. First Am. Title Ins. Co., 239 Cal. App. 4th 1088, 1114
          28          (2015); In re Wilma James Tr., 487 S.W.3d 37, 48 (Mo. Ct. App. 2016); Siegal v. Gamble, 2016
                      WL 1085787, at *8 (N.D. Cal. Mar. 21, 2016); Fed. R. Civ. P. 9(b).
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                                                                      20     MOTION TO DISMISS AMENDED COMPLAINT
